
Motion to amend remittitur granted. Return of remittitur requested and, when returned, it will be amended by adding thereto the following: Upon the appeal herein there were presented and necessarily passed upon questions under the Constitution of the United States, viz.: Whether defendant-appellant’s rights under the due process clause of the Fourteenth Amendment were violated. Defendant argued that the material upon which the prosecution was based was not obscene; that there was a burden upon the People to produce evidence of contemporary community standards, and that it was necessary for the prosecution to prove that defendant had reason to believe that the material violated the law. The Court of Appeals held that the constitutional rights of defendant-appellant had not been violated. [See 20 N Y 2d 104.]
